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ATTORNEYS AT LAW
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Counsel to the Official Committee of Tort Claimants
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
In re: Case No. 14-cr-00175-WHA
PG&E CORPORATION
-and- AMENDED PROOF OF SERVICE
PACIFIC GAS AND ELECTRIC
COMPANY,
Debtors.

 

 

 

 

 

AMENDED PROOF OF SERVICE
Case No.: 14-cr-00175-WHA

 
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PROOF OF SERVICE

I, Heidi Hammon-Turano, do declare and state as follows:

1, I am employed in San Francisco County in the State of California. I am more than
eighteen years old and not a party to this action. My business address is Baker & Hostetler LLP,
600 Montgomery Street, Suite 3100,San Francisco, CA 94111-2806.

2. I certify that on February 25, 2020, I caused a true and correct copy of each of the
following documents to be served via e-mail on the Email Service List attached hereto as

Exhibit A:

e Request By The Official Committee Of Tort Claimants For Additional Information
From Defendant.

e Supplemental Declaration of Thomas Scott Hylton

I declare under penalty of perjury under the laws of the United States of America, that the
foregoing is true and correct and that if called upon as a witness, I could and would testify
thereto.

Executed this 27th" day of February, 2020, at San Francisco, Califoynia.

Heidi Hammon-Turano

~2-
AMENDED PROOF OF SERVICE
Case No.: 14-cr-00175-WHA

 
Case 3:14-cr-00175-WHA Document 1175 Filed 02/27/20 Page 3 of 3

EXHIBIT A

Email Service List

Served via Email

 

 

 

 

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Hallie Mitchell Hoffman

 

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